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10                               UNITED STATES DISTRICT COURT
11                                    DISTRICT OF NEVADA
12   LAS VEGAS SUN, INC., a Nevada                  Case No.: 2:19-CV-01667-RFB-BNW
13   corporation,
                   Plaintiff,
14
     v.                                             RESPONSE TO OBJECTION TO
15                                                  NOTICE OF RELATED CASE (ECF NO.
     SHELDON ADELSON, an individual and
     as the alter ego of News+Media Capital         23)
16
     Group LLC and as the alter ego of Las
17   Vegas Review Journal, Inc.; PATRICK
     DUMONT, an individual; NEWS+MEDIA
18   CAPITAL GROUP LLC, a Delaware
     limited liability company; LAS VEGAS
19
     REVIEW-JOURNAL, INC., a Delaware
20   corporation; and DOES, I-X, inclusive,
                   Defendants.
21

22

23          Defendants Las Vegas Review-Journal, Inc., News+Media Capital Group LLC, Sheldon
24   Adelson, and Patrick Dumont (collectively, “Defendants”), by and through their counsel of
25   record, hereby submit this Response to Plaintiff Las Vegas Sun, Inc.’s Objection to Notice of
26   Related Case (ECF No. 23).
27   ///
28


                                                 1
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 1   I.     Local Rule 42-1(a) Imposes a Duty to Inform the Court of Related Cases.

 2          Local Rule 42-1 places a mandatory obligation on any “party who has a reason to believe

 3   that an action on file or about to be filed is related to another action on file (whether active or

 4   terminated)” to file a notice of related cases in each such action. The Honorable Jennifer Dorsey

 5   exhorted litigants and counsel to comply with this non-discretionary requirement or face the

 6   possibility of sanctions. See Horta-Castrejon v. Sessions, No. 2:17-cv-01567-JAD-NJK, 2018

 7   WL 1124949, at *2 (D. Nev. Mar. 1, 2018) (“Finally, I advise Horta-Castrejon and his counsel to

 8   review Local Rule LR 42-1(a), which requires that a notice of related cases ‘whether active or

 9   terminated’ be filed. Using a different alias in a new proceeding does not excuse a party or his

10   counsel from complying with the local rule. Failure to comply with the local rules may result in

11   sanctions.”).

12          Here, Defendants filed the Notice of Related Case to meet their obligation to inform the

13   Court that this action is related to the action previously litigated before Judge James C. Mahan of

14   the United States District Court for the District of Nevada: Greenspun v. Stephens Media LLC, et

15   al., 2:13-cv-01494-JCM-PAL (“Related Case”).

16
     II.    The Local Rule Broadly Defines Related Cases and Expressly Includes Terminated
17          Cases.

18          Actions may be considered related to one another in any one of the following

19   circumstances:

20          (1) Both actions involve the same parties and are based on the same or similar
            claim;
21          (2) Both actions involved the same property, transaction, or event;
            (3) Both actions involve similar questions of fact and the same question of law,
22          and their assignment to the same district judge or magistrate judge is likely to
            effect a substantial savings of judicial effort;
23          (4) Both actions involve the same patent, trademark, or copyright, and one of the
            factors identified in (1), (2), or (3) above is present; or
24          (5) For any other reason, it would entail substantial duplication of labor if the
            actions were heard by different district judges or magistrate judges.
25

26   LR 42-1(a).

27          This Action and the Related Action appear to meet the criteria of LR 42-1(a)(1), (a)(3)

28   and/or (a)(5) based on, among other things, the similarity of the allegations and claims between


                                                   2
     Case 2:19-cv-01667-RFB-BNW Document 25 Filed 11/01/19 Page 3 of 5



 1   the cases and the fact that Judge Mahan conducted and presided over a preliminary injunction

 2   hearing. See Greenspun v. Stephens Media LLC, et al., 2:13-cv-01494-JCM-PAL, ECF No. 28

 3   (transcript of preliminary injunction hearing).

 4          Unlike the Sun, Defendants decline to engage in ad hominem attacks and arguments about

 5   the similarities (or dissimilarities) of the two cases because, by rule, the judges in the two actions

 6   will independently review the records and determine whether the two actions meet the relatedness

 7   requirements. Instead, Defendants provide the following table of information to assist the Court

 8   in comparing the allegations in the two actions:

 9
                      Commonality                                This Case            Related Case
10
      The plaintiff in the Related Case was Brian              ECF No. 1, ¶ 2        ECF No. 1, ¶ 4
11    Greenspun; the plaintiff in this case is the Las
      Vegas Sun, Inc., which is published by Brian
12    Greenspun

13    DR Partners dba Stephens Media was a                    ECF No. 1, ¶¶ 5–7      ECF No. 1, ¶ 41
      named defendant in the Related Case and its
14    successors-in-interest, News+Media Capital
      Group LLC and Las Vegas Review-Journal,
15    Inc., are named defendants in this action

16    Both cases involve the same contract – the             ECF No. 1, ¶¶ 23–35   ECF No. 1, ¶¶ 50–54
      2005 joint operating arrangement (“2005
17    JOA”)

18    The complaints contain overlapping (albeit,            ECF No. 1, ¶¶ 36–47   ECF No. 1, ¶¶ 55–62
      inconsistent) antitrust market allegations
19
      Both complaints allege antitrust injury based ECF No. 1, ¶¶ 108–18           ECF No. 1, ¶¶ 63–94
20    on defendants’ alleged attempt to terminate
      the 2005 JOA
21
      Both complaints assert a cause of action for ECF No. 1, ¶¶ 128–37 ECF No. 1, ¶¶ 97–102
22    attempted monopolization under Section 2 of
      the Sherman Act, 15 U.S.C. § 2 arising from
23    the alleged termination of the 2005 JOA

24    Both complaints assert a cause of action for ECF No. 1, ¶¶ 148–52            ECF No. 1, ¶¶ 95–96
      violation of Section 7 of the Clayton Act, 15
25    U.S.C. § 18 arising from the alleged
      termination of the 2005 JOA
26
      Both complaints assert a cause of action ECF No. 1, ¶¶ 153–58 ECF No. 1, ¶¶ 103–04
27    under the Nevada Unfair Trade Practices
      Act, NRS 598A
28


                                                         3
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 1
                     Commonality                            This Case             Related Case
 2
      Both complaints seek to enjoin termination       ECF No. 1, 34:17–18       ECF No. 1, 19:8
 3    of the 2005 JOA

 4    Brian Greenspun verified both complaints          ECF No. 1, 36:1–14      ECF No. 1, 20:1–11

 5           Pursuant to LR 42-1, Defendants have concurrently filed this Response to Objection to
 6   Notice of Related Case in the Greenspun v. Stephens Media matter and served all parties with the
 7   same.
 8           DATED November 1, 2019
                                                      KEMP, JONES & COULTHARD, LLP
 9
10                                                    /s/ Michael Gayan
                                                      J. RANDALL JONES, ESQ., SBN 1927
11                                                    MICHAEL J. GAYAN, ESQ., SBN 11135
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18                                                    Attorney for Defendants

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 1                                        PROOF OF SERVICE

 2           I hereby certify that on the 1st day of November, 2019, I served a true and correct copy of

 3   the foregoing RESPONSE TO OBJECTION TO NOTICE OF RELATED CASE (ECF NO.

 4   23) via the United States District Court’s CM/ECF electronic filing system to all parties on the e-

 5   service list.

 6
                                                    /s/ Pamela Montgomery
 7                                                  An employee of Kemp, Jones & Coulthard, LLP
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